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                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF IDAHO
                                   SOUTHERN DIVISION

 PLANNED PARENTHOOD GREAT
 NORTHWEST, HAWAII, ALASKA, INDIANA,
 KENTUCKY, on behalf of itself, its staff, physicians
 and patients, CAITLIN GUSTAFSON, M.D., on
 behalf of herself and her patients, and DARIN L.
 WEYHRICH, M.D., on behalf of himself and his
 patients,
                Plaintiffs,                                  Case No. 1:23-cv-00142-BLW
         v.
                                                             MOTION TO STRIKE
 RAÚL LABRADOR, in his official capacity as                  DEFENDANTS’ NOTICES
 Attorney General of the State of Idaho; MEMBERS             OF SUPPLEMENTAL
 OF THE IDAHO STATE BOARD OF MEDICINE                        DECLARATIONS
 and IDAHO STATE BOARD OF NURSING, in their
 official capacities, COUNTY PROSECUTING
 ATTORNEYS, in their official capacities,

               Defendants.
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       Plaintiffs’ Motion to Strike Defendants’ Notices of Supplemental Declarations

       Plaintiffs move to strike Defendants’ First Notice of Supplemental Declarations Regarding

Subject Matter Jurisdiction (Dkt. 116) and all Declarations appended thereto (Dkts. 116-1, 116-2,

116-3, and 116-4), Defendants’ Second Notice of Supplemental Declarations Regarding Subject

Matter Jurisdiction (Dkt. 117) and all Declarations appended thereto (Dkts. 117-1, 117-2, 117-3,

117-4, 117-5, 117-6, 117-7, and 117-8), and Defendants’ Third Notice of Supplemental

Declarations Regarding Subject Matter Jurisdiction (Dkt. 121) and all Declarations appended

thereto (Dkts. 121-1, 121-2, and 121-3), for lack of compliance with the Local Rules. Because the

Local Rules do not authorize the filing of supplemental materials, leave of court is required before

a party can file any supplemental materials. See, e.g., Medina v. Valdez, No. 08-cv-456, 2009 WL

2848659, at *7 (D. Idaho Aug. 28, 2009) (Winmill, D.J.) (“Neither party shall file supplemental

responses, replies, affidavits, or other filings not authorized by the Local Rules without prior leave

of Court.”); Holmes v. Idaho Power Co. Sec. Plan for Senior Mgmt. Emps., No. CV03-514-S-EJL,

2005 WL 1863180, at *1 (D. Idaho Aug. 4, 2005) (“Rule 7.1 of the Local Rules . . . required

[plaintiff] to seek leave of the Court prior to filing a supplemental affidavit.”). Leave of court was

not sought here. Moreover, these supplemental declarations are untimely; just as the Court noted

in its order denying Defendants’ motion for supplemental briefing, these declarations could have

been made “on the original briefing schedule.” Dkt. 114 at 2. Finally, these supplemental

declarations are irrelevant, because—like the Attorney General’s April 7 letter—they do not

repudiate the substance of the Attorney General’s interpretation of Idaho Code § 18-622. Plaintiffs

respectfully request that Defendants’ noncompliant filings be stricken from the record.




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                                               Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 4, 2023, I filed the foregoing electronically through the

CM/ECF system, which caused the following parties or counsel to be served by electronic

means, as more fully reflected on the Notice of Electronic Filing:

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